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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


 AMERICAN PATENTS LLC,                                   Case No. 4:18-CV-701

                         Plaintiff,

          v.

 ONEPLUS TECHNOLOGY (SHENZEN) CO.,
 LTD.,

                         Defendant.



        ONEPLUS TECHNOLOGY (SHENZHEN) CO., LTD. MOTION TO DISMISS

         Pursuant to Federal Rule of Civil Procedure 12(b)(5), defendant OnePlus Technology

(Shenzhen) Co., Ltd. (“OnePlus”) hereby specially appears for the sole purpose of moving to

dismiss the Complaint of plaintiff American Patents LLC (“Plaintiff”) pursuant to Federal Rule

of Civil Procedure 12(b)(5) for insufficiency of service of process. In the alternative, OnePlus

moves to quash Plaintiff’s attempted service on the Texas Secretary of State.

I.       INTRODUCTION

         Plaintiff has attempted service on OnePlus, a Chinese corporation, by service on the

Texas Secretary of State. Plaintiff has not indicated that it has made any attempt to effectuate

service on OnePlus through the Hague Convention. Under this Court’s precedent, Plaintiff’s

attempt at “substituted service” is ineffective. Therefore, the complaint should be dismissed, or

in the alternative, Plaintiff’s attempt at service should be quashed with an instruction that

Plaintiff must serve OnePlus pursuant to the Hague Convention.
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II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 4(h) governs the service of domestic and foreign

corporations. When service is attempted on a corporation “at a place not within any judicial

district of the United States,” service is accomplished in “any manner prescribed by Rule 4(f) for

serving an individual, except personal delivery under (f)(2)(C)(i).” Fed. R. Civ. P. 4(h)(2). Rule

4(h)(1). Rule 4(f) first provides for foreign service “by any internationally agreed means . . .

such as those authorized by the Hague Convention on the Service Abroad of Judicial and

Extrajudicial Documents....” Fed. R. Civ. P. 4(f)(1).

       Texas law allows for “substituted service” of nonresident parties under TEXAS CIVIL

PRACTICE & REMEDIES CODE § 17.044, which provides that “[t]he secretary of state is an agent

for service of process on a nonresident who engages in business in this state, but does not

maintain a regular place of business in this state or a designated agent for service of process, in

any proceeding that arises out of the business done in this state and to which the nonresident is a

party.” Id. at 17.044(b). “If the secretary of state is served with duplicate copies of process for a

nonresident, the documents shall contain a statement of the name and address of the

nonresident's home or home office and the secretary of state shall immediately mail a copy of the

process to the nonresident at the address provided.” Id. § 17.045(a). “One copy of the petition

and citation will be forwarded by registered or certified mail, as appropriate under the particular

statute under which service is being made, to the person named at the address provided.” 1 TEX.

ADMIN. CODE § 71.21 (2012).

       This Court has made clear that where a document must be served on a party located

abroad, the Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil

and Commercial Matters (“Hague Convention”) applies. See Macrosolve, Inc. v. Antenna

Software, Inc., No. 6:11-cv-287, 2012 WL 12903085, at *2 (E.D. Tex. 2012) (“Because


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substituted service on the Texas Secretary of State for a nonresident defendant requires the

transmittal of judicial documents abroad, the Hague Convention is implicated.”) (citing

Volkswagenwerk Aktiengesellschaft v. Schlunk, 486 U.S. 694, 700 (1988)). By its terms the

Hague Convention applies to “all cases, in civil or commercial matters, where there is occasion

to transmit a judicial or extrajudicial document for service abroad.” Hague Convention Art. I.

III.    STATEMENT OF FACTS

        Plaintiff alleges that defendant OnePlus is a corporation “existing under the laws of the

People’s Republic of China” and with an address in Shenzhen, China. Dkt. 1, ¶ 2. Plaintiff also

contends that venue is proper by citing 28 U.S.C. § 1391(c)(3), which applies to “defendant[s]

not resident in the United States.” Id. at ¶ 5.

        Plaintiff purports to have served OnePlus through service on the Texas Secretary of State.

Dkt. 10. The proof of service filing furnished to the Court only includes the address of the Texas

Secretary of State, and does not include the address that plaintiff alleges in its complaint is that

of OnePlus. Dkt. 10; Dkt. 1, ¶ 2. Plaintiff has not provided any indication that it has attempted

any service other than by serving its complaint on the Texas Secretary of State. See Dkt. 10.

IV.     ARGUMENT

        Plaintiff has not properly effectuated service on OnePlus, and therefore service is

ineffective such that dismissal is appropriate under Rule 12(b)(5). In the alternative, the Court

should quash Plaintiff’s attempted service with instructions to effectuate service on OnePlus

under the Hague Convention.

        A.      Plaintiff’s Attempt to Serve a Resident of China Through the Texas
                Secretary of State Triggers the Hague Convention

        Plaintiff makes no allegation that OnePlus is a resident of Texas or the United States, nor

that OnePlus has an agent for service of process in the United States. See Dkt. 1, ¶ 2. The



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purported service therefore must be based on TEX. CIV. PRAC. & REM. CODE § 17.044(b)’s

provisions for service on a nonresident.

       As noted above, Texas law provides that the Secretary of State “is an agent for service of

process on a nonresident who engages in business in this state, but does not maintain a regular

place of business in [Texas] or a designated agent for service of process, in any proceeding that

arises out of the business done in [Texas] and to which the nonresident is a party.” Macrosolve,

2012 WL 12903085, at *1 (quoting TEX. CIV. PRAC. & REM. CODE § 17.044(b)).

“Substituted service of process upon the Texas Secretary of State requires that the Secretary send

notice of the complaint to the nonresident.” Id. at *2 (citing TEX. CIV. PRAC. & REM. CODE ANN.

§ 17.045(a) (West 2011); 1 TEX. ADMIN. CODE § 71.21(b) (2018)). Such service is only effective,

and a Certificate of Service only can issue, after receipt by the Texas Secretary of State of a

postal mail receipt indicating whether the forwarded notice was received. Id. (citing 1 TEX.

ADMIN. CODE § 71.21(c) (2018)).

       As has previously been held by this Court, a plaintiff’s “substituted service on the Texas

Secretary of State triggered the Hague Convention because the Secretary is required to transmit

judicial documents abroad as part of the service of process.” Id. . This is consistent with the

holdings of other Texas courts. See, e.g., Alternative Delivery Solutions, Ind. v. Donnelley &

Sons Co., No. Civ. 05-CA-0172, 2005 WL 1862631, at *2 (W.D. Tex. 2005) (“Thus, service via

the Texas Secretary of State is insufficient because it requires service by mail, which fails to

comply with the Hague Convention under Fifth Circuit law.”); see also Nocando Mem Holdings,

Ltd. v. Credit Commercial de France, S.A., No. Civ.A.SA-01-1194-XR, 2004 WL 2603739, at

*5 (W.D. Tex. Oct. 6, 2004).




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       B.      Plaintiff Cannot Serve OnePlus by Mail Because The People’s Republic of
               China Has Objected to Hague Convention Provisions for Service by Mail

       The United States of America is a signatory to the Hague Convention, as is the People’s

Republic of China. See Zhang v. Baidu.com Inc., 932 F. Supp. 2d 561, 565 (S.D.N.Y. 2013) (“As

both the United States and China are signatories to the Hague Convention, that pact governs

service of process by transmittal of documents abroad in this case.”).

       In its ratification of the Hague Convention, the People’s Republic of China objected to

those sections that allow for service by mail. Id. at 567 (“the Hague Convention allows for

service through ‘postal channels,’ but only if ‘the State of destination does not object.’. . . China

has objected.”); see also Declarations Notifications, Hague Conference on Private International

Law, http://www.hcch.net/index_en.php?act=status.comment&csid=393&disp=resdn (last

accessed Oct. 22, 2018) (“[China] oppose[s] the service of documents in the territory of the

People’s Republic of China by the methods provided by Article 10 of the Convention.”). As a

federal treaty the Hague Convention “preempts inconsistent methods of service prescribed by

state law in all cases to which it applies.” Schlunk, 486 U.S. at, 699. Therefore, any attempt by

Plaintiff to serve OnePlus by mail would violate the Hague Convention.

       The Supreme Court recently held that the Hague Convention does not expressly prohibit

service by mail. See Water Splash, Inc. v. Menon, 581 U.S. ___, No. 16-254, (2017). In so doing

it reaffirmed, however, “this does not mean that the Convention affirmatively authorizes service

by mail.” Id., slip op. at 12. Rather, for service by mail to be available, two conditions must be

met: “[F]irst, the receiving state has not objected to service by mail; and second, service by mail

is authorized under otherwise-applicable law.” Id. (citing Brockmeyer v. May, 383 F.3d 798,

803–804 (9th Cir. 2004)).




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       Because the People’s Republic of China has objected to service by mail, the necessary

conditions set out by the Supreme Court for service by mail are not met, and Water Splash did

nothing to change the established law that service on the Texas Secretary of State does not avoid

the need for a plaintiff to comply with the Hague Convention in order to properly effect service.

Thus, in the instant case, Plaintiff’s attempt at substituted service is ineffective because China

has specifically objected to service by mail.

V.     CONCLUSION

       For the foregoing reasons, Plaintiff’s complaint should be dismissed under Rule 12(b)(5)

for insufficiency of process. In the alternative, the Court should quash Plaintiff’s attempt of

service and direct it to serve OnePlus in a manner consistent with the Hague Convention.




Dated: November 26, 2018                        Respectfully submitted,
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                                 CERTIFICATE OF SERVICE


       The undersigned certifies that on this 26th day of November, 2018, all counsel of record

who are deemed to have consented to electronic service are being served with a copy of this

document through the Court=s CM/ECF system under Local Rule CV-5(a)(3). Any other counsel

of record will be served by a facsimile transmission and/or first class mail.


                                                       /s/ Clyde M. Siebman
                                                        Clyde M. Siebman




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